                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION


Sherri L. Coultrup,

                                            Plaintiff,

                          vs.                                DOCKET NO. 5:09-CV-00273-D

The Methodist University, Inc. & Jeffrey A.
Zimmerman,

                                        Defendants.

                      STIPULATION OF DISMISSAL WITH PREJUDICE

       Now come the parties to this action, by and through their undersigned counsel and

pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, and hereby stipulate that this

action and all claims in this action are DISMISSED WITH PREJUDICE.

       The parties further stipulate and agree through their respective counsel that they shall

bear their own costs and attorneys' fees.

       SO STIPULATED:

       This the 1st day of June 2010.


      VAN CAMP, MEACHAM, &                                 POYNER SPRUILL LLP
      NEWMAN, P.L.L.C.



By:   /s/ Thomas M. Van Camp                         By:   /s/ Kevin M. Ceglowski
      Thomas M. Van Camp                                   Susanna Knutson Gibbons
      N.C. State Bar No. 16872                             N.C. State Bar No. 9815
      Evelyn M. Savage                                     Kevin M. Ceglowski
      N.C. State. Bar No. 34374                            N.C. State Bar No. 35703
      Post Office Box 1389                                 P.O. Box 1801
      Pinehurst, NC 28370                                  Raleigh, NC 27602-1801
      Telephone: 910.295.2525                              Telephone: 919.783.6400
      Facsimile: 910.295.2001                              Facsimile: 919.783.1075



           Case 5:09-cv-00273-D Document 26 Filed 06/01/10 Page 1 of 3
Email: thomasv@vancamplaw.com           Email: sgibbons@poynerspruill.com
evelyn@vancamplaw.com                   kceglowski@poynerspruill.com
ATTORNEYS FOR PLAINTIFF                 ATTORNEYS FOR DEFENDANT
SHERRI L. COULTRUP                      THE METHODIST UNIVERSITY,
                                        INC.




                                        BAILEY & DIXON, L.L.P.



                                  By:   /s/ Cathleen M. Plaut
                                        Cathleen M. Plaut
                                        N.C. State Bar No. 13697
                                        Adam N. Olls.
                                        N.C. State Bar No. 38405
                                        Post Office Box 1351
                                        Raleigh, NC 27602
                                        Telephone: 919.828.0731
                                        Facsimile: 919.828.6592
                                        Email: cplaut@bdixon.com
                                        aolls@bdixon.com
                                        ATTORNEYS FOR DEFENDANT
                                        JEFFREY A. ZIMMERMAN




                               2
    Case 5:09-cv-00273-D Document 26 Filed 06/01/10 Page 2 of 3
                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 1st of June 2010, I electronically filed the foregoing
Stipulation of Dismissal with Prejudice with the Clerk of Court for the United States District
Court for the Eastern District of North Carolina by using the CM/ECF system. I certify that all
participants in the case are registered CM/ECF users and that service will be accomplished by
the CM/ECF system.

         This the 1st day of June 2010.



                                                      POYNER SPRUILL LLP



                                                By:   /s/ Kevin M. Ceglowski
                                                      Susanna Knutson Gibbons
                                                      N.C. State Bar No. 9815
                                                      Kevin M. Ceglowski
                                                      N.C. State Bar No. 35703
                                                      P.O. Box 1801
                                                      Raleigh, NC 27602-1801
                                                      Telephone: 919.783.6400
                                                      Facsimile: 919.783.1075
                                                      Email: kceglowski@poynerspruill.com
                                                      ATTORNEYS FOR DEFENDANT
                                                      THE METHODIST UNIVERSITY,
                                                      INC.




                                         3
              Case 5:09-cv-00273-D Document 26 Filed 06/01/10 Page 3 of 3
RALEIGH 600124v3
